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issued March 10, 2011

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In The

Court of Appeals

For The

First District of Texas

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NO. 01B10B00012BCV

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BARRE MORRIS, Appellant

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V.

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VICTORIA BARRIENTES,
Appellee

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On Appeal from the 309th
District Court

Harris County, Texas

Trial Court Cause No.
2003-31582

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MEMORANDUM
OPINION








Appellant Barre Morris has neither
established indigence, nor paid or made arrangements to pay, the fee for
preparing the clerk=s
record.&nbsp; See Tex. R. App. P. 20.1 (listing
requirements for establishing indigence), 37.3(b) (allowing dismissal of appeal
if no clerk=s record filed due to appellant=s
fault).&nbsp; After being notified that this
appeal was subject to dismissal, appellant did not adequately respond.&nbsp; See Tex.
R. App. P. 42.3(c) (allowing involuntary dismissal).

We dismiss the appeal for want of
prosecution.&nbsp; All pending motions are dismissed.

PER
CURIAM

Panel consists of Chief Justice Radack and Justices Alcala and Bland.





